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Exhibit A
Case 1:24-cv-24453-KMW Document 1-4 Entered on FLSD Docket 11/12/2024 Page 2 of 8

August 15, 2024

Property Tax Increase 2024
Your Address:

Follo number: $460,368
2023 Assossmmont; $608,761
2024 Assessment: $68,383
MIAMI, FL 33164 an
Dear Proparty Owner,
According to the Miami-Dade Properly Appraiser, the avarket value of your properly at
Ncreag

@d from $450,468 to $508,751, Al Properly Tax Savers of Miami, we ee : Tee reanals
owners like you reduce tholr proparty tax burden through our local property tax appeal service. i le-familly
achieved an industry teading succoss rate of 70% for properties valdedakovers600,000.ecres8 218

wn and multifamily asset classes, Lel us help raduce your property tax assessment and lower your
x bill,
Why use us?
1. Advanced Tochnology: Our adv
een ay: Our advanced techno!

pe te ou ech Ne sitoamiines routine tasks, enabling our experts
0 fo each fax appeal and delve Into Its unique det ils.

2, Local Expertise: With 354 years of experiance and rt :
company ranks am

over 250,000 a ls in $
d. Commons ong the top exports In the market, oo eulb Florida, ou
. petitive pricing: We offer exlremaly competitive pricing at just 25% of the achieved savings
‘Process:

| No results

onward to Working together
J, Puyanic
foperly Tay Savers of Mlami

a. N Peet

Case 1:24-cv-24453-KMW Document 1-4 Entered on FLSD Docket 11/12/2024 Page 3 of 8

August 15, 2024

Property Tax Increase 2024
Your Addtess

Folio number.

2023 Assessment: $2,100,120
2024 Assessment. $3,132,420
Golden Beach, Florida USA 33160 Assessment Increase: $1,032,300

Dear Property Owner,

According to the Miami-Dade Property Appraiser, the market value of your property with folio number/address
increased from $2,100,120 to $3,132,420, At Property Tax Savers of Miami, we specialize In

helping property owners like you reduce their property tax burden through our local property tax appeal

service, Last year, we achieved an Industry-leading success rate of 70% with vacant land, and we believe

there's a great opportunity to achieve similar success with your property, Let us help reduce your property tax
assessment and lower your tax bill.

Why use us?

A,

Advanced Technology: Our advanced technology streamlines routine tasks, enabling our experts
to dedicate more time to each tax appeal and delve into its unique details,

2. Local Exportise: With 35+ years of experience and over 250,000 appeals in South Florida, our
company ranks among the top experts in the market.

3. Competitive pricing: We offer extremely competitive pricing at just 30% of the achieved savings.

Our Process:

1, Sign-up: Visit taxsaversmiami.comvregistration to sign up online in minutes or fill out and return the
service agreament included with this letter,

2. We handle everything: We represent you throughout the entire appeal process, including filing the
appeal, preparing your case, and handling negotiations with the value adjustment board.

3. No results-no pay: After we win your appeal, you will receive a refund or lowered tax bill directly

from the county. You only pay us 30% of savings if we achieve a reduction on your taxes.

Interested in saving on your taxes? Fill out the attached service agreement or visit
taxsaversmlami.com/registration to complete it online. Be sure to do so before the September 15 deadline.

Looking forward to working together,

Lawrence J, Puyanic
President, Property Tax Savers of Miami

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Scan to sign-up

>

717 Ponce de Leon Boulevard, Suite 330 Coral Gables, Florida 33134
305.740.0118 | ww.taxsaversmiami.com
Case 1:24-cv-24453-KMW Document 1-4 Entered on FLSD Docket 11/12/2024 Page 4 of 8

TAXSAVERS

August 15, 2024

Property Tax Increase 2024
Your Address:

Folio number:
2023 Assessinent: $3.312,000
2024 Assassmont: $4.212.000
GOLDEN BEACH, FL 33160 Assessment Increase: $900,000

Dear Property Owner,

According to the Miami-Dade Property Appraiser, the market value of your property at

increased from $3,312,000 to $4,212,000. At Property Tax Savers of Miami, we specialize In helping properly
owners like you reduce their property tax burden through our local property tax appeal service. Last year, we
achieved an industry-leading success rate of 85% for properties valued at over $1 million across retail, multi-
family, and industrial asset classes. Let us help reduce your property tax assessment and lower your tax bill.

Why use us?

4. Advanced Technology: Our advanced technology streamlines routine tasks, enabling our experts
to dedicate more time to each tax appeal and delve into its unique details.

2. Local Expertise: With 35+ years of experience and over 250,000 appeals in South Florida, our
company ranks among the top experts in the market.

3. Competitive pricing: We offer extremely competitive pricing at just 30% of the achleved savings.

Our Process:

1. Sign-up: Visit taxsaversmiami.com/registration to sign up online in minutes or fill out and return the
service agreement included with this letter.

2. We handle everything: We represent you throughout the entire appeal process, Including filing the
appeal, preparing your case, and handling negotiations with the value adjustment board.

3. No results-no pay: After we win your appeal, you will receive a refund or lowered tax bill directly
from the county. You only pay us 30% of savings if we achieve a reduction on your taxes.

Interested in saving on your taxes? Fill out the attached service agreement or visit
taxsaversmiami.com/registration to complete it online. Be sure to do so before the September 15 deadline.

Looking forward to working together,

Lawrence J. Puyanic
President, Property Tax Savers of Miami

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Scan to sign-up

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( 305.740.0118 | www.taxsaversmiaml.com
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Exhibit B
Case 1:24-cv-24453-KMW Document 1-4 Entered on FLSD Docket 11/12/2024 Page 6 of 8

FREE ANALYSIS = PAYMENT ENROLLMENT RESOURCES = ABOUTUS CONTACT

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290,000+ 30 YEARS 2/3 $5 BIL

Successful property of industry experience Property owners receive Total market value of
tax appeals a refund on their tax bill property we represent in
Miami-Dade & Broward
Counties
Case 1:24-cv-24453-KMW Document 1-4 Entered on FLSD Docket 11/12/2024 Page 7 of 8

IN MIAMI-DADE ALONE, HUNDREDS OF THOUSANDS OF PROPERTIES ARE INCORRECTLY ASSESSED AND THEREFORE, OVERTAXED

THIS 1S WHERE WE STEP IN.

Wherever your property is located we have experience with appealing similar properties in your area.
With 5,000 - 8,000 petitions a year, we cover all of Miami-Dade and Broward County.

soo HER 000 VACANT LAND
VACANT LAND

HOTELS $244 877743 retro; SINGLE-FAMILY

$180.556455 lots] HOMES & CONDOS

2B70 properties

INDUSTRIAL ae ‘i SINGLE-FAMILY

S601384387 ’ HOMES & CON DOS MULTI-FAMILY
876 properties
ooo) RETAIL

OFFICEBUILOINGS LD 625 pores
$442180077 MARKET
VALUE

REPRESENTATION

OFFICE BUILDINGS

339 properties

INDUSTRIAL

519 properties

HOTELS

29 properties

$1.127565536

MULTI-FAMILY 3S OTHER

SEAO.AI9.E42 ood 158 properties.
Case 1:24-cv-24453-KMW Document 1-4 Entered on FLSD Docket 11/12/2024 Page 8 of 8

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